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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                        Plaintiff,       )
      vs.                                )                             Case No. 03-40142-JAR
                                         )
                                         )
DAVID C. WITTIG and                      )
DOUGLAS T. LAKE,                         )
                                         )
                        Defendants.      )
________________________________________ )

                                     MEMORANDUM AND ORDER

         This matter is before the Court on defendant Douglas Lake’s third Motion for Subpoena

Issued Pursuant to Fed. R. Crim. P. 17(c) (Doc. 881). The government has filed a Response in

Opposition (Doc. 877). A hearing was held April 14, 2008, at which time the Court directed

further briefing on the issues of standing and specificity. The government has also filed its

opposition to the instant motion as well as a separate motion for a subpoena issued to Westar

(Doc. 910).1 Defendant moved to strike the government’s opposition (Doc. 911) on the grounds

that the government lacks standing to object to the issuance of subpoenas pursuant to Rule 17(c).

The Court has considered the submissions and oral arguments of the parties and is now prepared

to rule. For reasons set forth in detail below, defendant’s motions are denied.

I.       Background

         On January 8, 2008, defendant sought two subpoenas issued pursuant to Rule 17(c)



         1
          The Court will address the Motion for Rule 17(c) subpoena issued to Westar (Doc. 896) in a separate
order.
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directed to the law firms of Debevoise and Plimpton and Lankler Siffert and Wohl, LLP (Docs.

875, 876). On February 4, 2008, this Court denied both motions (Doc. 878), ruling that

defendant did not meet the test for issuance of such subpoenas set forth by the Supreme Court in

United States v. Nixon.2 In its Order, the Court analyzed the Nixon test, which summarizes the

moving party’s burden as clearing the three hurdles of relevancy, admissibility and specificity.3

The Court will not restate the text of its analysis in its entirety, but instead incorporates the Order

by reference and relies on it as necessary in ruling on the instant motion.

       On February 25, 2008, defendant filed the instant motion pursuant to Rule 17(c) (Doc.

881), requesting the Court permit defendant to issue a subpoena duces tecum to John T. Siffert,

of Lankler Siffert & Wohl, for

               Communications (including emails), correspondence, notes, or
               other documents by and between John T. Siffert, in his capacity as
               counsel for Westar Energy, and the United States Attorneys Office
               for the District of Kansas and/or the Department of Justice
               regarding Westar Energy’s status in a criminal investigation
               regarding Westar, between date on which Gilman sent bill to Irick
               rec’d bill November 8, 2002 and November 27, 2002.

       Defendant submits in support of the motion his affidavit that states Mr. Siffert officed in

the same building as one of defendant’s previous lawyers, Mr. Fitzpatrick. While defendant was

meeting with Fitzpatrick on or about November 27, 2002, Siffert entered the office, displayed

defendant’s most recent legal bill that had been submitted for payment, and stated that it would

be a “bad idea” for Lake to press for payment of legal fees to Westar for indemnification and that

such a demand “wouldn’t go over well with Hathaway.” Defendant states that he interpreted



       2
        418 U.S. 683, 700 (1974).
       3
        Id.

                                                  2
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this statement as a threat by Mr. Siffert. Defendant also attaches a copy of the so-called “Holder

Memorandum.”

II.     Discussion

        A.       Standing

        The first issue raised by defendant is whether the government has standing to object to

the issuance of the proposed subpoena. Defendant argues that objection to the issuance of the

subpoena is, in effect, a motion to quash the subpoena. Thus, defendant argues, only the

subpoenaed third party and not the government, has a proprietary interest in the requested

materials, and only the third party can assert that compliance with the subpoena would be

unreasonable or oppressive. However, the cases cited by defendant in support of this argument

apply in cases where a third-party subpoena is issued and the government thereafter files a

motion to quash the subpoena.4 This case is not in the same procedural posture, as the subpoenas

have not yet been served, and the government merely objects to their issuance. The Court finds

that the government, as opposing party, has a right to be heard on a motion presented for the

Court’s consideration.5

        More importantly, standing is really a non-issue in this case because the Court “has an

interest in preserving the proper procedure prescribed by the Rules of Criminal Procedure,

irrespective of the desires of the parties.”6 The Court must ensure that Rule 17(c) does not



        4
         See United States v. Daniels, 95 F. Supp. 2d 1160, 1164 (D. Kan. 2000); United States v. Nachamie, 91 F.
Supp. 2d 552, 558-61 (S.D.N.Y. 2000); United States v. Tomison, 969 F. Supp. 587, 595-96 (E.D. Cal. 1997).
        5
         See United States v. Mondi, No. 1 L01 CR 00050, 2002 WL 188327, at *1 (W.D. Va. Feb. 6, 2002).
         6
           United States v. Beckford, 964 F. Supp. 1010, 1025 (E.D. Va. 1997) (quoting United States v. Ferguson, 37
F.R.D. 6, 8 (D.D.C. 1965)).

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become a means of conducting general discovery, which is not permitted in criminal cases.7

Regardless of the government’s position, the Court is required to examine the subpoena for

compliance with the test set forth in Nixon.8 The government’s standing to object has no effect

on the Court’s independent obligations under Rule 17(c).9

        B.         Legal Standard

        As a threshold matter, defendant argues that a relaxed evidentiary standard should apply

when a Rule 17(c) subpoena is directed to a third party, rather than to the government.

Defendant does not cite, nor could the Court find, any cases that support this proposition,

although the Nixon Court suggested that a lesser standard might apply.10 The Court agrees with

the reasoning of other courts that have applied Nixon to assess the validity of Rule 17(c)

subpoenas issued to third parties, and finds no compelling reason to employ a lesser standard in

this case.11 Thus, defendant’s requested subpoena must meet the test set forth in Nixon, which

requires a party to show:

                   (1) that the documents are evidentiary and relevant; (2) that they
                   are not otherwise procurable reasonably in advance of trial by
                   exercise of due diligence; (3) that the party cannot properly
                   prepare for trial without such production and inspection in advance
                   of trial and that the failure to obtain such inspection may tend
                   unreasonably to delay the trial; and (4) that the application is made
                   in good faith and is not intended as a general “fishing


        7
         See Bowman Dairy Co. v. United States, 341 U.S. 214, 221 (1951) (“[t]he burden is on the court to see that
the subpoena is good in its entirety and it is not upon the [subpoenaed party] to cull the good from the bad.”).
        8
         United States v. Nixon, 418 U.S. 683, 700 (1974).
        9
         Mondi, 2002 WL 188327, at *2 (citing Beckford, 964 F. Supp. at 1025).
        10
            Nixon, 418 U.S. at 700 n.12.
         11
            See, e.g., United States v. Ferguson, No. 06CR137 (CFD), 2007 WL 2815068, at *3 (D. Conn. Sept. 23,
2007) (citing cases).

                                                        4
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                expedition.”12

There are three obstacles to issuance of a Rule 17(c) subpoena: relevancy, admissibility, and

specificity.13 The Court finds that defendant has failed to satisfy this test.

       Specificity

       Specificity is the most difficult hurdle to overcome.14 “The specificity requirement

ensures that Rule 17(c) subpoenas are used only to secure for trial certain documents or sharply

defined groups of documents.”15 “The specificity requirement also prevents the moving party

from using the Rule 17(c) subpoena as a license for what the Supreme Court . . . decried as a

‘fishing expedition to see what may turn up.’”16

       Defendant contends that the subpoena to Siffert satisfies the specificity hurdle because it

identifies in detail the items sought, communications between Siffert and the United States

Attorney’s Office for the District of Kansas and/or the Department of Justice, and further

describes in detail the content, communications “regarding Westar Energy’s status in a criminal

investigation regarding Westar.” A request will usually be sufficiently specific where it limits

documents to a reasonable period of time and states with reasonable precision the subjects to

which the documents relate.17 However, the mere hope of discovering favorable evidence is




       12
         United States v. Abdush-Shakur, 465 F.3d 458, 467 (10th Cir. 2006) (citing Nixon, 418 U.S. at 699-700).
       13
         Id.
       14
         United States v. Anderson, 31 F. Supp. 2d 933, 944 (D. Kan. 1998) (citations omitted).
       15
         Id.
       16
         Id. (quoting Bowman Dairy Co. v. United States, 341 U.S. 214, 221 (1951)).
       17
         United States v. RW Prof’l Leasing Servs. Corp., 228 F.R.D. 158, 162 (E.D.N.Y. 2005).

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insufficient to support issuance of a subpoena duces tecum.18 The specificity and relevance

requirements demand more than the title of a document and conjecture concerning its contents.19

The specificity requirement ensures that a Rule 17(c) subpoena will not be used just to see “what

may turn up.”20

          Such is the case here. Although the proposed subpoena narrows the subject matter as

well as the date range and recipient, it continues to read like a civil discovery request, including

a broad description of materials requested and an expansive “Definitions” section that seeks

“each” and “every,”“any” and “all,” “without limitation,”“however denominated.” Moreover,

although the present motion removes the wording “if they exist,” with regards to the documents

sought, counsel for defendant concedes that they do not know whether any such documents exist.

Defendant has not met the specificity requirement.

        Relevance and Admissibility

        That the requested material is “potentially” relevant or admissible is not enough, for both

tests must be satisfied when the evidence is sought.21 There must be a “sufficient likelihood”

that the requested material is “relevant to the offenses charged in the indictment,” and a

“sufficient preliminary showing that . . . [the requested material] contains evidence admissible

with respect to the offense charged.”22 Conclusory allegations of relevance and admissibility are



        18
          See United States v. Ary, No. 05-10053-JTM, 2005 WL 2372743, at *3 (D. Kan. Sept. 27, 2005) (citing
United States v. Jackson, 155 F.R.D. 664, 667 (D. Kan. 1994)).
        19
          United States v. Hardy, 224 F.3d 752, 755 (8th Cir. 2000).
        20
          United States v. Libby, 432 F. Supp. 2d 26, 32 (D.D.C. 2006).
        21
          United States v. Anderson, 31 F. Supp. 2d 933, 944 (D. Kan. 1998) (citation omitted).
        22
          Id. (quoting Nixon, 418 U.S. at 700).

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insufficient.23

         Defendant argues that the documents sought are relevant “because they go directly to

[defendant’s] defenses, by establishing that there were communications between the Department

of Justice and Westar and whether, as a result, the Department of Justice coerced Westar into

cooperation against defendants in this matter.” Along with his affidavit, defendant attaches the

“Holder Memorandum,” a June 1999 directive by then-Deputy Attorney General Eric Holder

setting out factors to be considered by federal prosecutors when deciding whether to criminally

charge a corporation. Among these factors is the consideration of whether the corporation

appears to be protecting its culpable employees and agents evidenced, among other things, by

advancement of attorneys fees. Defendant argues that any communications about the issue of

Westar’s fee advancement in the government’s decision whether to criminally charge the

company “goes beyond impeachment and bias evidence to affirmatively show potential

strategies and/or agreements by and between Westar and the Department of Justice regarding

cooperation with the investigation.” At the April 14, 2008 hearing, counsel for defendant further

explained that “we’re looking for . . . documents that show other focuses of this

investigation—preindictment.”

        Relevant evidence is “evidence having any tendency to make the existence of any fact

that is of consequence to the determination of the action more probable or less probable than it

would be without the evidence.”24 In this case, defendant is charged, inter alia, with conspiracy

to commit wire fraud, money laundering and circumvention of internal controls while employed



        23
          Id.
        24
          Fed. R. Evid. 401.

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by Westar. The documents defendant seeks do not relate to whether or not he committed any of

these or other acts alleged in the First Superseding Indictment. Indeed, the present Rule 17(c)

motion omits any previous claim that the materials sought might reveal a violation of any Fifth

or Sixth Amendment rights. For the reasons set forth in detail in its previous Order, the Court

finds that defendant’s present motion for subpoena is based on speculation and conjecture.

          Defendant also contends that he is seeking the material for impeachment purposes in the

cross-examination of certain former Westar employees, including Richard Terrill, Frank Becker,

Gene Budig, Jane Sadaka and Carl Koupal. The term “impeachment” also refers to the bias or

interest of a witness, the witness’s ability to observe an event in issue, or a witness’s prior

statement that is inconsistent with his or her current testimony.25 Defendant argues that it is

highly likely that these same witnesses will testify at trial and will be subject to examination

and/or cross-examination regarding the documents it seeks in the present motion.

         Generally, prior to trial, impeachment materials may not be obtained through a Rule

17(c) subpoena because such materials fail Nixon’s admissibility requirement.26 As defendant

points out, some courts have concluded that when a person is almost certain to testify as a

witness at trial and there is an indication of what that testimony will be, then pre-trial production

is appropriate.27 But, as defendant also points out, impeachment evidence only ripens into



         25
           United States v. Shanahan, No. S1-4:07 CR 175 JCH, 2008 WL 619213, at *3 (E.D. Mo. Mar. 3, 2008)
(citing Berry v. Oswalt, 143 F.3d 1127, 1132 (8th Cir. 1998)).
         26
           Nixon, 418 U.S. at 701 (“Generally, the need for evidence to impeach witnesses is insufficient to require
its production in advance of trial.”).
         27
           See United States v. Libby, 432 F. Supp. 2d 26, 36 (D.D.C. 2006) (citing United States v. LaRouche
Campaign, 841 F.2d 1176, 1180 (1st Cir. 1988)) (concluding that it was proper to disclose impeachment evidence
before trial pursuant to a Rule 17(c) subpoena because the “putative key witness, whose general testimony is already
known, is scheduled to testify”).

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admissible evidence after the witness has presented direct testimony at trial.28 Nevertheless, the

fact that the requested documents might be admissible cannot overcome the Court’s ruling on

relevance and specificity.

       Accordingly, the Court finds that because defendant’s Rule 17(c) motion does not meet

the Nixon test, it cannot permit issuance of the subpoena duces tecum to Siffert. Defendant’s

motion is denied.

       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion to Strike

(Doc. 911) and Motion Pursuant to Rule 17(c) (Doc. 881) are DENIED.

       IT IS SO ORDERED.

       Dated this 12th day of June 2008.

                                                     S/ Julie A. Robinson
                                                    Julie A. Robinson
                                                    United States District Judge




       28
         Id. (citing United States v. Cuthbertson, 630 F.2d 139, 145-46 (3d Cir. 1980)).

                                                        9
